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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                               ENTERED
                                                                              October 04, 2018
                IN THE UNITED STATES DISTRICT COURT
                                                                          David J. Bradley, Clerk
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

SIEMENS PRODUCT LIFECYCLE                §
MANAGEMENT SOFTWARE INC.,                §
             Plaintiff,                  §
                                         §
v.                                       §      CASE NO. 4:18-cv-2344
                                         §
DOES 1-107,                              §
                      Defendants.        §

                                      ORDER

      The Court has received, by letter dated September 24, 2018, Defendant

Doe’s Notice of Objection to Subpoena to Produce Documents, Information or

Objects or to Permit Inspection of Premises in a Civil Action. It is hereby

      ORDERED that the Clerk will docket this letter as an objection to

Plaintiff’s subpoena. It is further

      ORDERED that Plaintiff Siemens Product Lifecycle Management Software

Inc. must file a response to Defendant Doe’s objection no later than October 18,

2018. It is further

      ORDERED that any reply Defendant Doe seeks to submit must be filed no

later than October 25, 2018. It is further

      ORDERED that the Court will hold a conference regarding Defendant

Doe’s objection on October 31, 2018, at 1:00 p.m.
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    Case 4:18-cv-02344 Document 14 Filed in TXSD on 10/04/18 Page 2 of 2




     SIGNED at Houston, Texas, this ___
                                    4th day of October, 2018.




                                               NAN Y F. ATLAS
                                      SENIOR UNI   STATES DISTRICT JUDGE




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